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                                              _________

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                                                                                  February 6, 2023
  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. Pamela K. Chen, U.S.D.J.
  225 Cadman Plaza East
  Courtroom 4F North
  Brooklyn, NY 11201-1804

         Re:       IME WatchDog, Inc. v. Gelardi, et al.
                   Case No.: 1:22-cv-1032 (PKC) (JRC)
                   MLLG File No.: 25-2022            ___

  Dear Judge Chen:

         This office represents the Plaintiff IME WatchDog, Inc. (“Plaintiff”) in the above-
  referenced case. Plaintiff writes pursuant to ¶ 3(D) of this Court’s Individual Practices and Rules
  (hereinafter “Practices”) to submit a copy of the cover letter setting forth who your undersigned
  represents and the papers being served in opposition to Defendants Safa Abdulrahman Gelardi and
  IME Companions LLC’s motion to dismiss the defamation claim.

         The papers served are:

               •   Plaintiff’s Notice of Cross-Motion for Leave to Amend the Complaint;
               •   Plaintiff’s Memorandum of Law in Opposition to Defendant’s Motion to Dismiss
                   and in Support of Plaintiff’s Cross-Motion for Leave to Amend the Complaint;
               •   Declaration of Emanuel Kataev, Esq. in Support of Plaintiff’s Cross-Motion for
                   Leave to Amend the Complaint;
                       o Exhibit A – copy of proposed Second Amended Complaint in redline;
                       o Exhibit B – copy of December 6, 2022 pre-motion conference transcript;
                       o Exhibit C – copy of January 18, 2019 email with Defendants’ defamatory
                           statements concerning Plaintiff; and
                       o Exhibit D – copy of May 18, 2022 email with Defendants’ defamatory
                           statements concerning Plaintiff.

          Consistent with this Court’s Practices, Plaintiff’s motion papers are not being filed until
  the instant motion is fully brief.

         Plaintiff thanks this honorable Court for its time and attention to this case.
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  Dated: Lake Success, New York
         February 6, 2023                Respectfully submitted,

                                         MILMAN LABUDA LAW GROUP PLLC

                                         __/s/ Emanuel Kataev, Esq.______________
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   Attorneys for Defendants                     Attorneys for
   Third-Party Plaintiffs                       Third-Party Defendant
   Third-Party Counterclaim Defendants          Third-Party Counterclaimant
   Safa Abdulrahim Gelardi                      Carlos Roa
   Vito Gelardi, and
   IME Companions LLC
                                                VIA ECF
                                                United States District Court
                                                Eastern District of New York
                                                Attn: Hon. James R. Cho, U.S.M.J.
                                                225 Cadman Plaza East
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